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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

                                           )       CASE NO: 4:01cr3106-4
UNITED STATES OF AMERICA                   )
               Plaintiff,                  )             ORDER
                                           )       TO WITHDRAW EXHIBITS
              vs.                          )       OR TO SHOW CAUSE WHY
                                           )       EXHIBITS SHOULD NOT BE
                                           )            DESTROYED
DONALD W. CRAMER                           )
                     Defendant.            )


       Pursuant to NECivR 79.1(f) or NECrimR 55.1(g), counsel for defendant, Donald W.

Cramer, shall either 1) withdraw the following exhibits previously submitted in this matter

within 10 business days of the date of this order, or 2) show cause why the exhibits should

not be destroyed:

              Exhibit number(s): 103, 111, and 112

              Hearing type(s): Trial

              Date of hearing(s): 11/22/02 - 12/9/02

       If counsel fails to withdraw these exhibits as directed or to show cause why the

exhibits should not be destroyed, the clerk’s office is directed to destroy the listed

exhibits without further notice to the parties or order from the court.

       IT IS SO ORDERED.

       February 14, 2007.



                                                   s/ Richard G. Kopf
                                                   United States District Judge
